LGBT Identification Rises to 5.6% in Latest U.S. Estimate             https://news.gallup.com/poll/329708/lgbt-identification-rises-latest-estim...
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            LGBT Identification Rises to
            5.6% in Latest U.S. Estimate
            BY JE F F R E Y M. JONE S




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            STO RY H I G H L I G H T S

                Estimate has risen more than one percentage point from 2017 update
                Majority of LGBT Americans say they are bisexual
                One in six adults in Generation Z consider themselves LGBT




            WASHINGTON, D.C. -- Gallup's latest update on lesbian, gay, bisexual or transgender
            identification finds 5.6% of U.S. adults identifying as LGBT. The current estimate is up
            from 4.5% in Gallup's previous update based on 2017 data.




            Currently, 86.7% of Americans say they are heterosexual or straight, and 7.6% do not
            answer the question about their sexual orientation. Gallup's 2012-2017 data had
            roughly 5% "no opinion" responses.

            The latest results are based on more than 15,000 interviews conducted throughout
            2020 with Americans aged 18 and older. Gallup had previously reported annual
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            updates from its 2012-2017 daily tracking survey data, but did not routinely measure
            LGBT identification in 2018 or 2019.

            The identity question asked in 2020 offers a greater level of detail than the question
            asked in previous years. Now, respondents have the ability to more precisely indicate
            aspects of their sexual orientation or gender identity. In addition to being able to
            identify whether they are lesbian, gay, bisexual or straight, respondents may also
            specifically identify whether they are transgender.

            Different approaches to measuring LGBT status can produce varying estimates of its
            incidence in the U.S. population. Results from Gallup's new question do appear
            comparable to those from its prior question. The 1.1-percentage-point increase in the
            2020 estimate (using the new question) compared with the 2017 estimate (using the
            old question) is about what would have been predicted from the recent trends. The
            LGBT percentage rose an average of 0.3 points per year in 2016 and 2017. Assuming
            that trend continued the past three years, the total increase would have been about
            one percentage point.


            Majority of LGBT Americans Identify as Bisexual

            More than half of LGBT adults (54.6%) identify as bisexual. About a quarter (24.5%)
            say they are gay, with 11.7% identifying as lesbian and 11.3% as transgender. An
            additional 3.3% volunteer another non-heterosexual preference or term to describe
            their sexual orientation, such as queer or same-gender-loving. Respondents can give
            multiple responses when describing their sexual identification; thus, the totals exceed
            100%.

            Rebasing these percentages to represent their share of the U.S. adult population finds
            3.1% of Americans identifying as bisexual, 1.4% as gay, 0.7% as lesbian and 0.6% as
            transgender.


                Americans' Self-Identified Sexual Orientation

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                Which of the following do you consider yourself to be? You can select as many as apply: Straight or
                heterosexual; Lesbian; Gay; Bisexual; Transgender.

                                                                      Among LGBT U.S. adults               Among all U.S. adults

                                                                                    %                                  %

                Lesbian                                                           11.7                                0.7

                Gay                                                               24.5                                1.4

                Bisexual                                                          54.6                                3.1

                Transgender                                                       11.3                                0.6

                Other (e.g., queer, same-gender-loving)                            3.3                                0.2

                Percentages total more than 100% because respondents may choose more than one category.


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            LGBT Identification Not Uncommon Among Younger
            Generations

            One of the main reasons LGBT identification has been increasing over time is that
            younger generations are far more likely to consider themselves to be something other
            than heterosexual. This includes about one in six adult members of Generation Z
            (those aged 18 to 23 in 2020).

            LGBT identification is lower in each older generation, including 2% or less of
            Americans born before 1965 (aged 56 and older in 2020).


                Americans' Self-Identification as LGBT, by Generation

                                                                    LGBT          Straight/Heterosexual                No opinion

                                                                      %                        %                             %

                Generation Z (born 1997-2002)                       15.9                     78.9                           5.2


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                                                                        LGBT           Straight/Heterosexual                No opinion

                                                                          %                         %                             %

                Millennials (born 1981-1996)                             9.1                       82.7                          8.1

                Generation X (born 1965-1980)                            3.8                       88.6                          7.6

                Baby boomers (born 1946-1964)                            2.0                       91.1                          6.9

                Traditionalists (born before 1946)                       1.3                       89.9                          8.9

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            The vast majority of Generation Z adults who identify as LGBT -- 72% -- say they are
            bisexual. Thus, 11.5% of all Gen Z adults in the U.S. say they are bisexual, with about
            2% each identifying as gay, lesbian or transgender.

            About half of millennials (those aged 24 to 39 in 2020) who identify as LGBT say they
            are bisexual. In older age groups, expressed bisexual preference is not significantly
            more common than expressed gay or lesbian preference.


                Americans' Self-Identified Sexual Orientation, by Generation

                                                                      Bisexual       Gay       Lesbian         Transgender          Other

                                                                          %            %           %                  %                %

                Generation Z (born 1997-2002)                            11.5         2.1         1.4                 1.8              0.4

                Millennials (born 1981-1996)                             5.1          2.0         0.8                 1.2              0.4

                Generation X (born 1965-1980)                            1.8          1.2         0.7                 0.2              0.1

                Baby boomers (born 1946-1964)                            0.3          1.2         0.4                 0.2              0.0

                Traditionalists (born before 1946)                       0.3          0.3         0.2                 0.3              0.1

                Figures represent the percentage of all adult members of each generation who have that sexual orientation


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            In addition to the pronounced generational differences, significant gender differences
            are seen in sexual identity, as well as differences by people's political ideology:

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                       Women are more likely than men to identify as LGBT (6.4% vs. 4.9%,
                       respectively).

                       Women are more likely to identify as bisexual -- 4.3% do, with 1.3% identifying
                       as lesbian and 1.3% as something else. Among men, 2.5% identify as gay,
                       1.8% as bisexual and 0.6% as something else.

                       13.0% of political liberals, 4.4% of moderates and 2.3% of conservatives say
                       they are lesbian, gay, bisexual or transgender.

                       Differences are somewhat less pronounced by party identification than by
                       ideology, with 8.8% of Democrats, 6.5% of independents and 1.7% of
                       Republicans identifying as LGBT.

                       There are no meaningful educational differences -- 5.6% of college graduates
                       and 5.7% of college nongraduates are LGBT.

            Bottom Line

            At a time when Americans are increasingly supportive of equal rights for gay, lesbian
            and transgender people, a growing percentage of Americans identify themselves as
            LGBT. With younger generations far more likely than older generations to consider
            themselves LGBT, that growth should continue.

            The pronounced generational differences raise questions about whether higher LGBT
            identification in younger than older Americans reflects a true shift in sexual
            orientation, or if it merely reflects a greater willingness of younger people to identify
            as LGBT. To the extent it reflects older Americans not wanting to acknowledge an
            LGBT orientation, the Gallup estimates may underestimate the actual population
            prevalence of it.

            One of the biggest recent advances in LGBT rights was the legalization of same-sex
            marriage nationwide. Gallup's new estimates on same-sex marriages and domestic
            partnerships in the U.S. can be found here.

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            Editor's note: On Feb. 26, 2021, some article text was revised to clarify aspects of
            sexual orientation versus gender identity.

            Learn more about how the Gallup Poll Social Series works.




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            RELEASE DATE:        February 24, 2021
            SOURCE: Gallup https://news.gallup.com/poll/329708/lgbt-identification-rises-latest-estimate.aspx
            CONTACT: Gallup World Headquarters, 901 F Street, Washington, D.C., 20001, U.S.A
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           One in 10 LGBT Americans
           Married to Same-Sex Spouse
           BY JE F F R E Y M. JONE S




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           STO RY H I G H L I G H T S

               9.6% of LGBT adults in the U.S. are married to a same-sex spouse
               Number of same-sex marriages have increased since 2016
               Opposite-sex marriages, partnerships more common among bisexual adults




           WASHINGTON, D.C. -- About one in 10 LGBT adults in the U.S. (9.6%) are married to a
           same-sex spouse, with a slightly smaller proportion (7.1%) living with a same-sex
           domestic partner. Half of LGBT adults have never been married, while 11.4% are
           married to an opposite-sex spouse and 9.5% are either divorced or separated.

           Overall, less than 1% of U.S. adults are married to a same-sex spouse. The greatest
           percentage of Americans, 47.7%, are married to an opposite-sex spouse.


               U.S. Adults' and LGBT Adults' Marital Status

                                                                                      U.S. adults           LGBT adults

                                                                                           %                      %

               Married to opposite-sex spouse                                             47.7                   11.4

               Married to same-sex spouse                                                  0.6                    9.6

               Living with opposite-sex domestic partner                                   8.1                    9.2

               Living with same-sex domestic partner                                       0.4                    7.1

               Single/Never married                                                       22.9                   50.5

               Separated                                                                   2.4                    2.0

               Divorced                                                                    9.5                    7.5

               Widowed                                                                     5.9                    2.5

               No opinion                                                                  2.6                    0.4

               Based on aggregated data from 2020 Gallup polls


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           These results are based on aggregated data from 2020 Gallup surveys,
           encompassing interviews with more than 15,000 U.S. adults. According to Gallup's
           latest estimate, 5.6% of U.S. adults identify as lesbian, gay, bisexual or transgender,
           with over half of them saying they are bisexual. LGBT identification is most prevalent
           among young adults, explaining the high proportion of the subgroup that has never
           been married.

           The percentage of LGBT adults in same-sex marriages appears to have leveled off
           after increasing following the Supreme Court's 2015 Obergefell v. Hodges decision
           that legalized same-sex marriages nationwide. In the six-month period before the
           Obergefell ruling, Gallup found that 7.9% of LGBT adults were in same-sex marriages.
           That percentage increased to 9.6% in the first year after the decision (through June
           2016) and is the same in the 2020 average.

           However, because of the growth in LGBT identification in recent years, coupled with
           the growth in the U.S. population more generally, the number of same-sex marriages
           has likely increased significantly. In the pre-Obergefell decision period, Gallup
           estimated that 0.3% of U.S. adults overall were married to a same-sex spouse. In the
           first year after that ruling, the proportion of U.S. adults in same-sex marriages was
           0.4%, and is 0.6% today.

           Extrapolating those percentages to the U.S. population suggests that an estimated
           1.5 million U.S. adults are married to a same-sex spouse, which would translate to
           about 750,000 same-sex marriages. Previously, Gallup estimated there were 368,000
           same-sex marriages before the Obergefell decision and 491,000 in the first 12
           months after it.

           Same-sex marriage rates are similar among most demographic subgroups of U.S.
           adults, although the percentage does exceed 1% among higher-socioeconomic-
           status Americans -- those in upper-income households (annual incomes of $100,000
           or more) and those with education beyond a four-year college degree. The
           percentage of people married to a same-sex spouse also exceeds 1% among
           political liberals, Democrats and those with no religious affiliation.
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           Additionally, Gallup trends show that same-sex cohabiting couples are increasingly
           opting for marriage rather than domestic partnership. In the months leading up to the
           nationwide legalization of same-sex marriage in 2015, many more LGBT Americans in
           same-sex cohabiting couples were living together but not married (62%) as opposed
           to being married (38%). In the first 12 months after same-sex marriages were
           legalized, the split was roughly even, with 49% being married and 51% not married.
           Since then, about six in 10 same-sex couples have been married, including 57% in the
           2020 data.




           Same-Sex Committed Relationships Uncommon for Bisexual
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           Adults

           Notably, same-sex marriages are largely confined to gay, lesbian or transgender
           adults. Only 1.0% of bisexual adults -- who comprise the largest segment of the LGBT
           population -- report being married to a same-sex spouse. Meanwhile, 17.2% of
           bisexual adults are married to a spouse of the opposite sex, which explains why LGBT
           adults overall are somewhat more likely to be married to an opposite-sex spouse than
           to someone of the same gender.

           Bisexual adults are also much less likely to have a same-sex domestic partner (2.7%)
           than to have an opposite-sex domestic partner (13.3%), which also leads to more
           LGBT adults in opposite-sex than same-sex domestic partnerships.

           As might be expected, the patterns are different among gay and lesbian adults, who
           are much more likely to be in same-sex marriages and domestic partnerships than to
           be married to or in domestic partnerships with members of the opposite sex. Still,
           close to half of gay and lesbian adults identify their marital status as single.


              Marital Status Among U.S. Adults Who Identify as Bisexual vs. Gay or Lesbian

                                                                                  Bisexual adults                Gay/Lesbian adults

                                                                                           %                                %

              Married to opposite-sex spouse                                              17.2                              0.3

              Married to same-sex spouse                                                   1.0                             23.9

              Living with opposite-sex domestic partner                                   13.3                              1.6

              Living with same-sex domestic partner                                        2.7                             15.9

              Single/Never married                                                        55.5                             47.8

              Separated                                                                    1.0                              1.3

              Divorced                                                                     8.0                              6.1


              Based on aggregated data from 2020 Gallup polls; Gallup does not have sufficient data to report reliable, separate estimates for
              gay vs. lesbian adults, or for transgender adults.


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                                                                                  Bisexual adults                Gay/Lesbian adults

                                                                                           %                                %

              Widowed                                                                      1.4                              1.9

              No opinion                                                                   0.0                              1.0

              Based on aggregated data from 2020 Gallup polls; Gallup does not have sufficient data to report reliable, separate estimates for
              gay vs. lesbian adults, or for transgender adults.


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           Gallup does not have sufficient data for transgender adults to yield reliable estimates
           of marital status among that group.


           Bottom Line

           Same-sex marriages are not common in the U.S., or even very common among LGBT
           adults. But they are becoming more prevalent in the U.S. because of the increase in
           the LGBT population more generally and because more same-sex cohabiting couples
           are opting to marry rather than be unmarried partners.

           What is unclear is how marital rates among LGBT adults will change as the population
           grows older and many reach the age when they would want to be in a committed
           relationship. Though it has been more than five years since same-sex marriage
           became legal, LGBT adults aged 30 and older are much more likely than non-LGBT
           adults in the same age group to describe their marital status as single (27.5% vs.
           10.9%, respectively).

           But decisions about entering committed relationships will be coming at a time when
           societal trends and attitudes are moving away from marriage. The 48% of Americans
           who reported being married in 2020 is down from 55% less than a generation ago, in
           2006. Additionally, fewer Americans today than in the recent past believe it is
           important that people be married if they have children together, or if they want to
           spend the rest of their lives together.

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           It is unclear what those attitudes are among LGBT Americans, but young adults,
           nonreligious people, Democrats and political liberals -- the subgroups most likely to
           be LGBT -- are among the least likely subgroups to see marriage as being relevant.

           And while many LGBT adults may decide not to get married, Americans increasingly
           support their right to marry a same-sex partner if they choose to do so.

           Learn more about how the Gallup Poll Social Series works.




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